Case 2:05-Cr-20087-BBD Document 39 Filed 08/09/05 Page 1 of 2 Page|D 35

 

UNHED sTATEs DIsTRiCT CoURT Fll-ED BY .%/___ D,c_
FOR THE WEs TERN DIsTRic'r oF TE:NNES sEE
WESTERN DIVISION 05 AUG -9 ph 3, 55
??DMW M. GOU_D
UNHES sTATEs oF AMERJCA, CLERK. US. ‘Df-S?Picrcoum
W/D G.F _t,z.§;`;ij-S
Plainaff,
v. cr. NO. 05_20087-1)
RAFAEL FUENTES,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION
TO FILE MOTION TO SUPPRESS OUT OF TIME

 

This cause having come before this Court on the q day of August, 2005, upon the

motion of defendant to file Motion to Suppress out of time; and the Court having considered the

motion of the defendant, the positions of the parties, and the record hereunder, is of the opinion that

the motion is well-taken, and hereby GRANTS the motion.

   

M/

CE B. éoNALD
sTATEs msch coURT JUDGE

DA

Thfs document entered on the docket she g r ‘
with Ru\e 55 andfor 32(b) FF`lCrP on

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:05-CR-20087 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

